                  IN THE SUPREME COURT OF PENNSYLVANIA
                              MIDDLE DISTRICT


COMMONWEALTH OF PENNSYLVANIA               : No. 202 MM 2017
EX REL. TRAVIS JUSTIN WHITEHAWK,           :
                                           :
                    Petitioner             :
                                           :
                                           :
             v.                            :
                                           :
                                           :
MARK GARMAN, SUPERINTENDENT,               :
                                           :
                    Respondent             :


                                      ORDER



PER CURIAM

      AND NOW, this 20th day of February, 2018, the Application for Leave to File

Original Process is GRANTED, and the Petition for Writ of Habeas Corpus is DENIED.
